                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           WAYCROSS DIVISION

UNITED STATES OF AMERICA                    )
                                            )
             v.                             )     Case No.: 5:23-CR-007
                                            )
JC LONGORIA CASTRO                          )


                        FINAL ORDER OF FORFEITURE

              WHEREAS, on or about July 25, 2023, JC Longoria Castro (the

 “defendant”) entered a plea of guilty to the lesser included offense charged in Count

 One of the above-captioned Information, charging a violation of 18 U.S.C. §

 1956(a)(1)(A)(i);

              WHEREAS, on August 22, 2023, this Court entered a Preliminary Order

 of Forfeiture (“Preliminary Order”) pursuant to Rule 32.2 of the Federal Rules of

 Criminal Procedure, finding that the

    •   22-DSS-000006- Cash seized pursuant to a federal search warrant in the
        amount of $9,302;

    •   22-DSS-000018- Cash seized pursuant to a federal search warrant in the
        amount of $6,000;

    •   22-DSS-000019- Cash seized pursuant to a federal search warrant in the
        amount of $1,616;

    •   22-DSS-000040- a 2015 Jeep Wrangler Sahara VIN 1C4GJWBG2FL697235,
        valued at approximately $24,074; and

    •   $15,342.35 in U.S. currency, which the defendant agrees to pay and is
        forfeiting in lieu of forfeiture of 22-DSS-000032- 2011 Ford SRW Super Duty
        VIN 1FTBF2BT6BED04675

 (hereinafter, the “Subject Property”) was property forfeitable to the United States;
               WHEREAS, legal notice of the forfeiture was published in this district

on the official government website, www.forfeiture.gov, for thirty (30) consecutive

days beginning on October 26, 2023, through and including November 24, 2023 (Doc.

28-1 at 3); and

               WHEREAS, no third party has filed with the Court any petition or claim

in connection with the Subject Property and the time to do so under 21 U.S.C.

§ 853(n)(2) has expired.

               NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

DECREED, that pursuant to 18 U.S.C. § 982(a)(1), and the Preliminary Order, all

right, title, and interest in the Subject Property is hereby condemned, forfeited, and

vested in the United States of America.

               IT IS FURTHER ORDERED that the United States Marshals Service,

or its duly authorized agents and/or contractors be, and hereby are, directed to

dispose of the Subject Property in accordance with all applicable laws and

regulations.

               IT IS FURTHER ORDERED that the United States District Court for

the Southern District of Georgia shall retain jurisdiction over this case for the

purposes of enforcing the Preliminary Order and this Final Order of Forfeiture and

any supplemental orders of forfeiture as may be necessary.

               IT IS FURTHER ORDERED that the Clerk of Court shall enter final

judgment of forfeiture to the United States in accordance with the terms of this Final

Order of Forfeiture and the Preliminary Order.



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SO ORDERED this ____ day of January 2024.




                                 ____________________________________
                                 HONORABLE LISA GODBEY WOOD
                                 UNITED STATES DISTRICT JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA




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